          2:09-cr-00090-wks   Document 780    Filed 01/23/17   Page 1 of 4



                       UNITED STATES DISTRICT COURT
                                  FOR THE
                            DISTRICT OF VERMONT

UNITED STATES OF AMERICA             )
                                     )
             v.                      )       Case No. 2:09-cr-90
                                     )
STEPHEN AGUIAR                       )

                              OPINION AND ORDER

     This matter comes before the Court for review of Magistrate

Judge John M. Conroy’s August 12, 2016 Report and Recommendation

(“R & R”), in which the magistrate judge recommends denying

Defendant Stephen Aguiar’s petition for a writ of habeas corpus,

filed pursuant to 28 U.S.C. § 2255, and related motions.                     Mr.

Aguiar is arguing for relief on the basis of ineffective

assistance of counsel, and has filed an objection to the R & R.

     A district judge must make a de novo determination of those

portions of a magistrate judge’s report and recommendation to

which an objection is made.         Fed. R. Civ. P. 72(b); 28 U.S.C. §

636(b)(l); Cullen v. United States, 194 F.3d 401, 405 (2d Cir.

1999).     The district judge may accept, reject, or modify, in

whole or in part, the findings or recommendations made by the

magistrate judge.       28 U.S.C. § 636(b)(1); accord Cullen, 194 F.3d

at 405.     A district judge, however, is not required to review the

factual or legal conclusions of the magistrate judge as to those

portions of a report and recommendation to which no objections

are addressed.      Thomas v. Arn, 474 U.S. 140, 150 (1985).

     This Court has reviewed Mr. Aguiar’s objections, and ADOPTS
        2:09-cr-00090-wks   Document 780   Filed 01/23/17     Page 2 of 4



the Magistrate Judge’s R & R in full.

     The Motion to Vacate (Doc. 717), Motion for Leave to Conduct

Discovery (Doc. 719), Motion to Expand the Record (Doc. 720),

Motion to Supplement the Record (Doc. 728), Motion to Strike

(Doc. 746), Motion for Order Directing Government or Counsel to

Provide Defendant with Discovery Material (Doc. 714), Motion for

Appointment of Counsel (Doc. 718), and Renewed Motion for

Appointment of Counsel (Doc. 735) are DENIED.               In addition, the

Motion to Strike Agent Carter’s testimony (Doc. 757) is DENIED AS

MOOT.

     The Court notes that under the standard set forth in

Strickland v. Washington, Mr. Aguiar must show not only that

counsel’s performance was “outside the wide range of

professionally competent assistance,” but also that “there is a

reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different.”

466 U.S. 668, 690, 694 (1984).       “As is obvious, Strickland’s

standard, although by no means insurmountable, is highly

demanding.”    Kimmelman v. Morrison, 477 U.S. 365, 382, (1986).

Mr. Aguiar’s petition fails to satisfy this demanding standard.

     Having presided over the trial in this case, the Court

recalls the thorough and vigorous arguments advanced by Attorney

David Williams in his role as defense counsel.              Multiple pre-

trial hearings were held and substantial briefing was submitted


                                     2
          2:09-cr-00090-wks   Document 780    Filed 01/23/17   Page 3 of 4



on behalf of the defense.         Attorney Williams continued his

zealous advocacy throughout the 11-day trial, and as Mr. Aguiar’s

counsel on appeal.

     Despite the efforts of Attorney Williams, the evidence

supporting Mr. Aguiar’s conviction was overwhelming.                 The trial

included testimony from multiple cooperating co-defendants,

recorded intercepts, verified controlled purchases, and hundreds

of pieces of evidence.        In affirming the conviction and sentence,

the Second Circuit referenced “the volume of evidence introduced

at trial by the government” in finding that an allegedly-

unconstitutional search was harmless.            United States v. Aguiar,

737 F.3d 251, 263 (2d Cir. 2013).            This same observation pertains

to Mr. Aguiar’s current arguments, as even considering the

aggregate impact of any alleged errors, the sheer volume of

evidence negated any resulting prejudice.             See Strickland, 466

U.S. at 696 (“a verdict or conclusion only weakly supported by

the record is more likely to have been affected by errors than

one with overwhelming record support”).

     Moreover, Attorney Williams’s performance throughout his

representation of Mr. Aguiar was well within the bounds of

professional competence, and his affidavit submitted in support

of the government’s opposition to the Section 2255 petition

explains his rationale for pursuing some efforts and abandoning

others.     The magistrate judge did not err in relying on that


                                       3
       2:09-cr-00090-wks   Document 780   Filed 01/23/17   Page 4 of 4



affidavit, see 28 U.S.C. § 1746 (stating that oath must comply

“substantially” with the statements set forth in the statute),

and the Court ADOPTS the R & R on all points.

     Pursuant to Fed. R. App. P. 22(b), a certificate of

appealability is DENIED because the petitioner has failed to make

a substantial showing of denial of a federal right.            Furthermore,

the petitioner’s grounds for relief do not present issues which

are debatable among jurists of reasons, which could have been

resolved differently, or which deserve further proceedings.              See

e.g., Flieger v. Delo, 16 F.3rd 878, 882–83 (8th Cir.) cert.

denied, 513 U.S. 946 (1994); Sawyer v. Collins, 986 F.2d 1493,

1497 (5th cir.), cert. denied, 508 U.S. 933 (1993).

     Furthermore, it is certified that any appeal taken in forma

pauperis would not be taken in good faith, pursuant to 28 U.S.C.

§ 1915(a)(3).

     DATED at Burlington, in the District of Vermont, this 23rd

day of January, 2017.

                                  /s/ William K. Sessions III
                                  William K. Sessions III
                                  District Court Judge




                                    4
